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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  UMG RECORDINGS, INC. fka Warner
  Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., CAPITOL
  RECORDS, LLCfka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  UNIVERSAL MUSIC CORP.fka Warner
  Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., UNIVERSAL
  MUSIC - MGB NA LLCfka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  UNIVERSAL MUSIC PUBLISHING
  INC.fka Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., UNIVERSAL
  MUSIC PUBLISHING ABfka Warner
  Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., UNIVERSAL
  MUSIC PUBLISHING LIMITEDfka
  Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., UNIVERSAL
  MUSIC PUBLISHING MGB LIMITEDfka
  Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., UNIVERSAL
  MUSIC - Z TUNES LLCfka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  POLYGRAM PUBLISHING, INC.fka
  Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., SONGS OF
  UNIVERSAL, INC.fka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  WARNER RECORDS INC.fka Warner
  Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
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  W.B.M. Music Corp., ATLANTIC
  RECORDING CORPORATIONfka
  Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., BAD BOY
  RECORDS LLCfka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  ELEKTRA ENTERTAINMENT GROUP
  INC.fka Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., FUELED BY
  RAMEN LLCfka Warner Bros. Records
  Inc., fka Warner/Chappell Music, Inc.,
  fka W.B.M. Music Corp., NONESUCH
  RECORDS INC.fka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  RHINO ENTERTAINMENT
  COMPANYfka Warner Bros. Records
  Inc., fka Warner/Chappell Music, Inc.,
  fka W.B.M. Music Corp., WEA
  INTERNATIONAL INC.fka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  WARNER CHAPPELL MUSIC, INC.fka
  Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., WARNER-
  TAMERLANE PUBLISHING CORP.fka
  Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., WB MUSIC
  CORP.fka Warner Bros. Records Inc.,
  fka Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., W.C.M. MUSIC
  CORP.fka Warner Bros. Records Inc.,
  fka Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., UNICHAPPELL
  MUSIC INC.fka Warner Bros. Records
  Inc., fka Warner/Chappell Music, Inc.,
  fka W.B.M. Music Corp., RIGHTSON
  MUSIC INC.fka Warner Bros. Records
  Inc., fka Warner/Chappell Music, Inc.,
  fka W.B.M. Music Corp., COTILLION
  MUSIC, INC.fka Warner Bros. Records
  Inc., fka Warner/Chappell Music, Inc.,
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  fka W.B.M. Music Corp., INTERSONG
  U.S.A., INC.fka Warner Bros. Records
  Inc., fka Warner/Chappell Music, Inc.,
  fka W.B.M. Music Corp., SONY MUSIC
  ENTERTAINMENTfka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  ARISTA MUSICfka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  ARISTA RECORDS LLCfka Warner
  Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., LAFACE
  RECORDS LLCfka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  PROVIDENT LABEL GROUP, LLCfka
  Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., SONY MUSIC
  ENTERTAINMENT US LATIN LLCfka
  Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., VOLCANO
  ENTERTAINMENT III, LLCfka Warner
  Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., ZOMBA
  RECORDING LLCfka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  SONY/ATV MUSIC PUBLISHING LLCfka
  Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., EMI AL GALLICO
  MUSIC CORP.fka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  EMI APRIL MUSIC INC.fka Warner
  Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., EMI BLACKWOOD
  MUSIC INC.fka Warner Bros. Records
  Inc., fka Warner/Chappell Music, Inc.,
  fka W.B.M. Music Corp., COLGEMS-
  EMI MUSIC INC.fka Warner Bros.
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  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  EMI CONSORTIUM MUSIC
  PUBLISHING INC. D/B/A EMI FULL
  KEEL MUSICfka Warner Bros. Records
  Inc., fka Warner/Chappell Music, Inc.,
  fka W.B.M. Music Corp., EMI
  CONSORTIUM SONGS, INC.,
  INDIVIDUALLY, AND D/B/A EMI
  LONGITUDE MUSICfka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  EMI ENTERTAINMENT WORLD INC.
  D/B/A EMI FORAY MUSICfka Warner
  Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., EMI JEMAXAL
  MUSIC INC.fka Warner Bros. Records
  Inc., fka Warner/Chappell Music, Inc.,
  fka W.B.M. Music Corp., EMI FEIST
  CATALOG INC.fka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  EMI MILLER CATALOG INC.fka Warner
  Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., EMI MILLS MUSIC,
  INC.fka Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., EMI U CATALOG
  INC.fka Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., JOBETE MUSIC
  CO. INC.fka Warner Bros. Records Inc.,
  fka Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., SCREEN GEMS-
  EMI MUSIC INC.fka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,
  STONE DIAMOND MUSIC CORP.fka
  Warner Bros. Records Inc., fka
  Warner/Chappell Music, Inc., fka
  W.B.M. Music Corp., and STONE
  AGATE MUSICfka Warner Bros.
  Records Inc., fka Warner/Chappell
  Music, Inc., fka W.B.M. Music Corp.,

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        Plaintiffs,

  v.                                                     Case No: 8:19-cv-710-T-35TGW

  BRIGHT HOUSE NETWORKS, LLC.,

        Defendant.


             AMENDED CASE MANAGEMENT AND SCHEDULING ORDER

        Having considered the Parties’ Joint Submission of Proposed Case Schedule,

  (Dkt. 137), and in light of the Court’s Order re-designating this case with a Track Three

  designation, (Dkt. 131), the Court enters this Amended Case Management and

  Scheduling Order:

   Certificate of Interested Persons and Corporate                             COMPLETED
   Disclosure Statement

   Motions to Add Parties or to Amend Pleadings                                COMPLETED


   Completion of Production of Documents Parties                           AUGUST 14, 2020
   Have Already Agreed to Produce Pursuant to
   Initial Discovery Requests


   Written Discovery                                                   NOVEMBER 11, 2020

   Disclosure of Expert Reports
                                                   Plaintiff:            FEBRUARY 5, 2021
                                                Defendant:                  MARCH 8, 2021


   Completion of Production of Documents Parties                        FEBRUARY 28, 2021
   Have Agreed to Produce Pursuant to Subsequent
   Discovery Requests

   Motion to Compel/Seek Relief from Court on Fact                          MARCH 19, 2021
   Discovery Issues

   Close of Fact Discovery (Including Party and                              APRIL 30, 2021
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   Third-Party Depositions)

   Close of Expert Discovery                                             MAY 30, 2021
   Dispositive Motions, Daubert, and Markman Motions                  JUNE 13, 2021
   Meeting In Person to Prepare Joint Final Pretrial                OCTOBER 7, 2021
   Statement


   Joint Final Pretrial Statement                                  OCTOBER 18, 2021

   (See Section III. B.)

   All Other Motions Including Motions In Limine                   OCTOBER 25, 2021


   Final Pretrial Conference                                If needed, it will be set, by
                                                            separate notice, on a date
                                                                that is approximately 4
                                                                      weeks before trial
   Trial Briefs and Deposition Transcripts with                    NOVEMBER 5, 2021
   Designations Highlighted
                                             Trial Term:             DECEMBER 2021
                                                  Begins:          November 29, 2021
   Parties shall be prepared to try this case anytime
   during the trial term. A more specific date will
   follow, by separate notice.
   Estimated Length of Trial                                                    15 days

   Jury / Non-Jury                                                                  Jury

   Mediation
                                               Deadline:                JULY 15, 2021
                                               Mediator:                         TBD

   Designated Lead Counsel shall
   contact opposing counsel and
   the mediator to reserve a
   conference date and shall file
   a Notice with the Court within
   21 days of this Order advising
   of the date.

   Designated Lead Counsel Pursuant to Local Rule                         Bryan D. Hull
   9.04(a)(3):
                                                                          813/224-9255

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             The purpose of this order is to discourage wasteful pretrial activities, and to secure

  the just, speedy, and inexpensive determination of the action. See FED. R. CIV. P. 1; Local

  Rule 1.01(b). This order controls the subsequent course of this proceeding. Fed.R.Civ.P.

  16(b), (e). Counsel and all parties (both represented and pro se) shall comply with this

  order, with the Federal Rules of Civil Procedure, with the Local Rules of the United States

  District Court for the Middle District of Florida, and with the Administrative Procedures for

  Case Management/Electronic Case Filing. A copy of the Local Rules and Administrative

  Procedures may be viewed at http://www.flmd.uscourts.gov. Counsel shall also comply

  with the Ideals and Goals of Professionalism adopted by the Board of Governors of the

  Florida Bar on May 16, 1990 available at www.floridabar.org (Professional Practice –

  Henry Latimer Center for Professionalism); Local Rule 2.04(g). 1

  I.         DISCOVERY

         A.      Certificate of Interested Persons and Corporate Disclosure Statement
  – This Court has previously ordered each party, governmental party, intervenor, non-party
  movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons and
  Corporate Disclosure Statement using a mandatory form. No party may seek discovery
  from any source before filing and serving a Certificate of Interested Persons and
  Corporate Disclosure Statement. A motion, memorandum, response, or other paper –
  including emergency motion – may be denied or stricken unless the filing party has
  previously filed and served a Certificate of Interested Persons and Corporate Disclosure
  Statement. Any party who has not already filed and served the required certificate shall
  do so within the time required by this order, or sanctions will be imposed.

         B.    Discovery Not Filed – The parties shall not file discovery materials with the
  Clerk except as provided in Local Rule 3.03(e). The Court encourages the exchange of
  discovery requests on diskette or by e-mail.

         C.     Limits on Discovery – Absent leave of Court, the parties may take no more
  than ten depositions per side (not per party). FED. R. CIV. P. 30(a)(2)(A); FED. R. CIV.
  P.31(a)(2)(A). Absent leave of Court, the parties may serve no more than twenty-five
  interrogatories, including sub-parts. FED. R. CIV. P. 33(a). Absent leave of the Court or
  stipulation by the parties, each deposition is limited to one day of seven hours. FED. R.
  CIV. P.30(d)(2). The parties may agree by stipulation on other limits on discovery within

  1   See also procedures for the presiding district judge found under Judicial Information at www.flmd.uscourts.gov.

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  the context of the limits and deadlines established by this Case Management and
  Scheduling Order, but the parties may not alter the terms of this Order without leave of
  Court. See, e.g., FED. R. CIV. P. 29.

         D.     Discovery Deadline – Each party shall timely serve discovery requests so
  that the Rules allow for a response prior to the discovery deadline. The Court may deny
  as untimely all motions to compel filed after the discovery deadline.

           E.      Disclosure of Expert Testimony – On or before the date set forth in the
  above table for the disclosure of expert reports, the party shall fully comply with Federal
  Rule of Civil Procedure 26(a)(2) and 26(e). Expert testimony on direct examination at
  trial will be limited to the opinions, bases, reasons, data, and other information disclosed
  in the written expert report disclosed pursuant to this Order. Failure to disclose such
  information may result in the exclusion of all or part of the testimony of the expert witness.

        F.      Confidentiality Agreements – The parties may reach their own agreement
  regarding the designation of materials as “confidential.” There is no need for the Court to
  endorse the confidentiality agreement. The Court discourages unnecessary stipulated
  motions for a protective order. The Court will enforce stipulated and signed confidentiality
  agreements. Each confidentiality agreement or order shall provide, or shall be deemed to
  provide, that “no party shall file a document under seal without first having obtained an
  order granting leave to file under seal on a showing of particularized need.” See also
  “Motions to File Under Seal” below.

  II.    MOTIONS

          A.      Certificate of Good Faith Conference – Before filing any motion in a civil
  case, the moving party shall confer with the opposing party in a good faith effort to resolve
  the issues raised by the motion, and shall file with the motion a statement certifying that
  the moving party has conferred with the opposing party, and that the parties have been
  unable to agree on the resolution of the motion. Local Rule 3.01(g). A certification to the
  effect that opposing counsel was unavailable for a conference before filing a motion is
  insufficient to satisfy the parties' obligation to confer. See Local Rule 3.01(g). No
  certificate is required in a motion for injunctive relief, for judgment on the pleadings, for
  summary judgment, to dismiss or to permit maintenance of a class action, to dismiss for
  failure to state a claim upon which relief can be granted, or to involuntarily dismiss an
  action. Local Rule 3.01(g). Nonetheless, the Court expects that a party alleging that a
  pleading fails to state a claim will confer with counsel for the opposing party before moving
  to dismiss and will agree to an order permitting the filing of a curative amended pleading.
  FED. R. CIV. P. 15. The term "counsel" in Rule 3.01(g) includes pro se parties acting as
  their own counsel, thus requiring movants to confer with pro se parties and requiring pro
  se movants to file Rule 3.01(g) certificates. The term “confer” in Rule 3.01(g) requires a
  substantive conversation in person or by telephone in a good faith effort to resolve the
  motion without court action and does not envision an exchange of ultimatums by fax or
  letter. Counsel who merely “attempt” to confer have not “conferred.” Counsel must
  respond promptly to inquiries and communications from opposing counsel. Board of
  Governors of the Florida Bar, Ideals and Goals of Professionalism, ¶ 6.10 and Creed of
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  Professionalism ¶ 8 (adopted May 16, 1990), available at www.floridabar.org
  (Professional Practice - Henry Latimer Center for Professionalism). The Court will deny
  motions that fail to include an appropriate, complete Rule 3.01(g) certificate.

         B.      Extension of Deadlines

       The parties may not extend deadlines established in this Case Management and
  Scheduling Order without the approval of the Court.

                1.     Dispositive Motions Deadline and Trial Not Extended – Motions
  to extend the dispositive motions deadline or to continue the trial are generally denied.
  See Local Rule 3.05(c)(2)(E). The Court will grant an exception only when necessary to
  prevent manifest injustice. A motion for a continuance of the trial is subject to denial if it
  fails to comply with Local Rule 3.09. The Court cannot extend a dispositive motion
  deadline to the eve of trial. In light of the district court’s heavy felony trial calendar, at least
  5 months are required before trial to receive memoranda in opposition to a motion for
  summary judgment, and to research and resolve the dispositive motion sufficiently in
  advance of trial.

                 2.      Extensions of Other Deadlines Disfavored – Motions for an
  extension of other deadlines established in this order, including motions for an extension
  of the discovery period, are disfavored. The deadline will not be extended absent a
  showing of good cause. Fed.R.Civ.P. 16(b). Failure to complete discovery within the time
  established by this Order shall not constitute cause for continuance. A motion to extend
  an established deadline normally will be denied if the motion fails to recite that: 1) the
  additional discovery is necessary for specified reasons; 2) all parties agree that the
  extension will not affect the dispositive motions deadline and trial date; 3) all parties agree
  that any discovery conducted after the dispositive motions date established in this Order
  will not be available for summary judgment purposes; and 4) no party will use the granting
  of the extension in support of a motion to extend another date or deadline. The filing of a
  motion for extension of time does not toll the time for compliance with deadlines
  established by Rule or Order.

          C.     Motions to Compel and for Protective Order – Motions to compel and
  motions for a protective order will be denied unless the motion fully complies with Local
  Rule 3.04, requiring the motion to quote in full each interrogatory, question, or request; to
  quote in full opposing party’s objection and grounds, or response which is asserted to be
  insufficient; and to state the reasons the motion should be granted.

          D.    Motions to File Under Seal – Whether documents filed in a case may be
  filed under seal is a separate issue from whether the parties may agree that produced
  documents are confidential. Motions to file under seal are disfavored, and such motions
  will be denied unless they comply with Local Rule 1.09.

           E.     Memoranda in Opposition – Each party opposing any written motion, shall
  file, within fourteen days after being served with such motion, a legal memorandum with
  citation of authorities in opposition to the relief requested. Local Rule 3.01(b). Where no
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  memorandum in opposition has been filed, the Court routinely grants the motion as
  unopposed. Motions titled as “unopposed” or “agreed” normally come to the Court’s
  attention prior to the deadline for response.

          F.     Emergency Motions – The Court may consider and determine emergency
  motions at any time. Local Rule 3.01(e). Counsel should be aware that the designation
  “emergency” may cause a judge to abandon other pending matters in order to
  immediately address the “emergency.” The Court will sanction any counsel or party who
  designates a motion as “emergency” under circumstances that are not a true emergency.
  Id. It is not an emergency when counsel has delayed discovery until the end of the
  discovery period. Promptly after filing an emergency motion, counsel shall place a
  telephone call to the chambers of the presiding judge to notify the Court that an
  emergency motion has been filed.

          G.    Page Limits – No party shall file a motion and supporting memorandum in
  excess of twenty-five pages or a response in excess of twenty pages except by
  permission of the Court. Local Rule 3.01(a), (b). A motion requesting leave to file either a
  motion in excess of twenty-five pages, a response in excess of twenty pages, or a reply
  or further memorandum may not exceed three pages, shall specify the length of the
  proposed filing, and shall not include, as an attachment or otherwise, the proposed
  motion, response, reply, or other paper. Rule 3.01(d). Motions for relief from page
  limitations are disfavored and will not be granted without a specific showing of good
  cause.

         H.     Motions for Summary Judgment

                  1.     Required Materials – A motion for summary judgment shall specify
  the material facts as to which the moving party contends there is no genuine issue for
  trial, and shall be accompanied by a memorandum of law, affidavits and other evidence
  in the form required by Federal Rule of Civil Procedure 56. The motion for summary
  judgment and supporting memorandum of law shall be presented in a single document of
  not more than twenty-five pages. Local Rule 3.01(a). Each party opposing a motion for
  summary judgment shall serve, within thirty (30) days after being served with such
  motion, a legal memorandum with citation of authorities in opposition to the relief
  requested of not more than twenty (20) pages. Id. This deadline reflects a nine day
  extension of time beyond the deadline established by Rule 56, as amended; thus,
  additional requests for extension are disfavored. The memorandum in opposition shall
  specify the material facts as to which the opposing party contends there exists a genuine
  issue for trial, and shall be accompanied by affidavit(s) and other evidence in the form
  required by Federal Rule of Civil Procedure 56. Both the movant and the party opposing
  summary judgment shall provide pinpoint citations to the pages and lines of the record
  supporting each material fact. General references to a deposition are inadequate. On or
  before the date on which the memorandum in opposition is due, the parties SHALL also
  file a stipulation of agreed material facts signed by the movant and the parties opposing
  summary judgment pursuant to Local Rule 4.15. Material facts set forth in the stipulation
  will be deemed admitted for the purposes of the motion. The Court will accept a ten (10)
  page reply. The reply shall be limited to addressing issues raised by the opposing party
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  that have not already been addressed in the motion. The reply shall be filed within
  fourteen (14) days after the response is served.

                 2.     Under Advisement – The Court takes a motion for summary
  judgment under advisement no earlier than forty-five (45) days from the date it is
  served, unless the Court orders a different date. Unless specifically ordered, the Court
  will not hold a hearing on the motion. Failure to oppose any motion for summary judgment
  may result in the entry of a judgment for the movant without further proceedings. See
  Milburn v. United States, 734 F.2d 762, 765 (11th Cir. 1984); Griffith v. Wainwright, 772
  F.2d 822, 825 (11th Cir. 1985) (per curiam); FED. R. CIV. P.56 (e). All requirements in this
  Order apply to pro se litigants as well as to parties represented by counsel.

         I.     Daubert and Markman Motions – On or before the date established in the
  above table for the filing of motions for summary judgment, any party seeking a ruling
  pursuant to Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993) (admissibility of
  expert opinions) or pursuant to Markman v. Westview Instruments, Inc., 517 U.S. 370
  (1996) (interpretation of a patent claim) shall file an appropriate motion. The parties shall
  prepare a glossary of technical or scientific terms where appropriate for the Court.

          J.     All Other Motions Including Motions In Limine – On or before the date
  established in the above table, the parties shall file and serve all other motions including
  motions in limine. Local Rule 3.01(g) applies, and the parties shall confer to define and
  limit the issues in dispute.
  III. JOINT FINAL PRETRIAL STATEMENT

         A.     Meeting In Person – On or before the date established in the above table,
  lead trial counsel for all parties and any unrepresented parties shall meet together in
  person pursuant to Local Rule 3.06(b) in a good faith effort to:

                1. settle the case; the parties shall thoroughly and exhaustively discuss
  settlement of the action before undertaking the extensive efforts needed to conduct final
  preparation of the case for trial and to comply with the requirements of this order;

                 2. stipulate to as many facts and issues as possible; in order to assist the
  Court, the parties shall make an active and substantial effort to stipulate at length and in
  detail as to agreed facts and law, and to limit, narrow, and simplify the issues of fact and
  law that remain contested; as a rule, parties who have complied with this requirement in
  good faith will file a Joint Final Pretrial Statement listing far more agreed facts and
  principles of law than those that remain for determination at trial;

                3. tag, mark, identify, examine, copy, and list all original trial exhibits
  (including actual document exhibits) that any party will offer in evidence or otherwise
  tender to any witness during trial [Local Rule 3.06(b)(3) and 3.07(a)]; and prepare and
  exchange a final exhibit list on the Clerk’s approved form (attached to this order) bearing
  a description identifying each exhibit and sponsoring witness [Local Rule 3.07(b)]; it is
  anticipated that counsel will agree to the admission of the bulk of the opposing parties’
  exhibits without objection and shall designate on the exhibit list the exhibits which the
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  Court may admit without objection at trial. Absent good cause, the Court will not receive
  in evidence over objection any exhibits – including charts, diagrams, and demonstrative
  evidence – not presented to opposing counsel or unrepresented parties for inspection
  and copying at the required meeting or not listed in the joint final pretrial statement.
  Photographs of sensitive exhibits (i.e., guns, drugs, valuables) and of non-documentary
  evidence, and reductions of documentary exhibits larger than 8 ½” by 14” to be substituted
  for original exhibits after conclusion of the trial must be presented to opposing counsel for
  examination at the meeting to prepare the Joint Final Pretrial Statement. Objections to
  such photographs or reductions of exhibits must be listed in the Joint Final Pretrial
  Statement. The parties are advised that the design of certain courtrooms may preclude
  the use of large exhibits and posters in a jury trial. The parties are directed to contact the
  trial judge’s courtroom deputy clerk to discuss exhibits and equipment to be used during
  trial; and

                  4. exchange the names and addresses of all witnesses and state whether
  they will likely be called.

          B. Form of Joint Final Pretrial Statement – On or before the date established
  in the above table, the parties shall file a Joint Final Pretrial Statement that strictly
  conforms to the requirements of Local Rule 3.06(c) and this Order. This case must be
  fully ready for trial at the time that the Joint Final Pretrial Statement is due.
  Anticipated length of trial based on issues remaining at the time of the filing of the Joint
  Final Pretrial Statement must be included as a separate line item in the Joint Pretrial
  Statement. Lead trial counsel for all parties, or the parties themselves if unrepresented,
  shall sign the Joint Final Pretrial Statement. The Court will strike pretrial statements that
  are unilateral, incompletely executed, or otherwise incomplete. Inadequate stipulations of
  fact and law will be stricken. Sanctions may be imposed for failure to comply, including
  the striking of pleadings. At the time the Joint Final Pretrial Conference if filed, all
  pleadings are deemed to be merged into the Joint Final Pretrial Statement, which will
  control the course of the trial. Local Rule 3.06(e).

                1.      Exhibit List – The exhibit list filed in compliance with Local Rules
  3.06(c)(4) and 3.07(b) must be on the Clerk’s approved form (attached to this order).
  Unlisted exhibits will not be received into evidence at trial, except by order of the Court in
  the furtherance of justice. See Local Rule 3.06(e). The Joint Final Pretrial Statement must
  attach each party’s exhibit list on the approved form, listing each specific objection (“all
  objections reserved” does not suffice) to each numbered exhibit that remains after full
  discussion and stipulation. Objections not made – or not made with specificity – are
  waived.

                  2.    Witness List – On the witness list required by Local Rule 3.06(c)(5),
  the parties and counsel shall designate which witnesses will likely be called, and also
  designate which witnesses may be called. Absent good cause, the Court will not permit
  over objection testimony from unlisted witnesses at trial. This restriction does not apply
  to true rebuttal witnesses (i.e., witnesses whose testimony could not reasonably have
  been foreseen to be necessary). Records custodians may be listed but will not likely be
  called at trial, except in the rare event that authenticity or foundation is contested. For
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  good cause shown in compelling circumstances, the Court may permit presentation of
  testimony in open court by contemporaneous transmission from a different location. FED.
  R. CIV. P. 43(a).

                 3.      Depositions – The Court encourages stipulations of fact to avoid
  calling unnecessary witnesses. Where a stipulation will not suffice, the Court permits the
  use of depositions. At the required meeting, counsel and unrepresented parties shall
  agree upon and list in the Joint Final Pretrial Statement the pages and lines of each
  deposition (except where used solely for impeachment) to be published to the trier of fact.
  If, after an active and substantial effort at resolution, the parties continue to disagree as
  to any proposed designations, the parties shall include in their Joint Final Pretrial
  Statement, argument and authority for each party’s position regarding disputed testimony.
  The parties shall file as an attachment to the Joint Final Pretrial Statement the deposition
  excerpts of any testimony that remains in dispute. Highlighted excerpts of the undisputed
  designations are not due to be filed until the trial briefs are due.

                  4.     Joint Jury Instructions, Verdict Form, Voir Dire Questions – In
  cases to be tried before a jury, the parties shall attach to the Joint Final Pretrial Statement
  a single jointly proposed set of jury instructions in order of presentation to the jury,
  together with a single jointly-proposed jury verdict form. Local Rule 5.01(c). The parties
  should be considerate of their jury, and therefore should submit short, concise special
  verdict forms. The Court prefers pattern jury instructions approved by the United States
  Court of Appeals for the Eleventh Circuit. A party may include at the appropriate place in
  the single set of jointly-proposed jury instructions a contested charge, so designated with
  the name of the requesting party and bearing at the bottom a citation of authority for its
  inclusion, together with a summary of the opposing party’s objection. The Court will deny
  outright a proposed instruction that is “slanted” in any way. Any modifications to
  Eleventh Circuit standard jury instructions are disfavored and shall be clearly
  marked and identified on the proposed jury instructions. The Court requires that
  the parties, provide to the Court, via e-mail 2, their proposed joint jury instructions
  and verdict form in Word format. The parties may include in the Joint Final Pretrial
  Statement a single list of jointly-proposed questions for the Court to ask the venire during
  voir dire. A link to the Pattern Jury Instructions Builder is available on the Court’s website
  under “Forms”, “Civil” and under “Criminal”. Additionally, they can be found under
  “Judicial Information”, “The Honorable Mary S. Scriven”.

          C.     Coordination of Joint Final Pretrial Statement – All parties are
  responsible for filing a Joint Final Pretrial Statement in full compliance with this order.
  Plaintiff’s counsel (or plaintiff if all parties are proceeding pro se) shall have the primary
  responsibility to coordinate compliance with the sections of this order that require a
  meeting of lead trial counsel and unrepresented parties in person and the filing of a Joint
  Final Pretrial Statement and related material. See Local Rule 3.10 (relating to failure to
  prosecute). If the plaintiff is proceeding pro se, defense counsel shall coordinate
  compliance. If counsel is unable to coordinate such compliance, counsel shall timely
  notify the Court by written motion or request for a status conference.

  2
      Judge Scriven’s e-mail address is as follows: chambers flmd scriven@flmd.uscourts.gov
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         D.     Trial Briefs, Deposition Designations and Other Materials

                1.      Trial Briefs – In the case of a non-jury trial, on or before the date
  established above, each party shall file and serve a trial brief with proposed findings of
  fact and conclusions of law. The parties may file a trial brief on or before the same date
  in the case of a jury trial.

               2.      Deposition Transcripts with Designations – On the date
  specified above, the parties shall file a copy of their deposition transcripts with
  designations that are to be offered in evidence. The Deposition transcripts shall be edited
  and marked as to the portion offered by each party.

                3.     Exhibit Notebook – On the first day of a jury trial or non-jury trial,
  the parties shall provide to the Court a bench notebook containing marked copies of all
  exhibits. The parties may contact the courtroom deputy clerk for the trial judge to
  determine whether this requirement may be waived.

  IV. MEDIATION

          A.      Purpose – To minimize costly pretrial procedures in a case that may be
  equitably settled, and to secure the just, speedy, and inexpensive determination of this
  action, all parties shall participate in good faith in mediation. See FED. R. CIV. P. 1; FED.
  R. CIV. P. 16(a)(5); Local Rules 1.01(b), 9.01(b). Parties who prefer mediation but have
  been designated for arbitration may file and serve a joint motion seeking relief from
  arbitration.

          B.     The Mediator – This Court prefers to appoint the certified and approved
  mediator, if any, chosen by the parties and disclosed in their Case Management Report.
  If no such mediator has been chosen and reported, the parties shall confer and agree
  upon a Court approved mediator and shall have up to and including 21 days from the date
  of this Order to file a written notice informing the Court of the parties’ selection and
  mediation date. Should the parties fail to agree on a Court approved mediator and fail to
  file written notice within the 21 days allotted, the Court will appoint a mediator without
  further notice pursuant to Local Rule 9.04. The mediator shall conduct the mediation
  conference in the conference room of the mediator’s law firm or office at a time and date
  selected by the mediator within the confines of this order.

         C.      Last Date to Mediate – The parties shall complete the mediation
  conference on or before the mediation date set forth earlier in the above table. Despite
  Local Rule 9.05(d), neither the mediator nor the parties have authority to continue
  the mediation conference beyond this date except on express order of the Court. In
  any Track Three case, complex case, or case involving multiple parties, the mediator has
  the authority to conduct the mediation in a series of sessions and in groups of parties so
  that mediation is complete by the last date to mediate.

        D.     Mediator’s Authority – The mediator shall have all powers and authority
  to conduct a mediation and to settle this case as are described in Chapter Nine of the
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  Local Rules, except as limited by this order. The mediation shall continue until
  adjourned by the mediator. In order to coordinate the mediation conference, the
  mediator may set an abbreviated scheduling conference prior to the scheduled mediation.
  At such time, the mediator may designate one or more coordinating attorneys who shall
  be responsible for conferring with the mediator regarding the mediation conference. If
  necessary, the coordinating attorney may coordinate the rescheduling of a mediation
  conference within the time allowed in this order.

         E.     General Rules Governing Mediation Conference

                1.    Case Summaries – Not less than two days prior to the mediation
  conference, each party shall deliver to the mediator a written summary of the facts and
  issues of the case.

                2.      Identification of Corporate Representative – As part of the written
  case summary, counsel for each corporate party shall state the name and general job
  description of the employee or agent who will attend and participate with full authority to
  settle on behalf of the corporate party.

                 3.    Attendance Requirements and Sanctions – Each attorney acting
  as lead trial counsel, and each party (and in the case of a corporate party, a corporate
  representative) with full authority to settle, shall attend and participate in the mediation
  conference in person. In the case of an insurance company, the term “full authority to
  settle” means authority to settle for the full value of the claim or policy limit. Claims
  professionals with full settlement authority may include insurance adjusters. Local Rule
  9.05 (c) The Court will impose sanctions upon lead counsel and parties who do not attend
  and participate in good faith in the mediation conference.

                4.     Authority to Declare Impasse – Participants shall be prepared to
  spend as much time as may be necessary to settle the case. No participant may force the
  early conclusion of a mediation because of travel plans or other engagements. Only the
  mediator may declare an impasse or end the mediation.

                5.     Restrictions on Offers to Compromise – Evidence of an offer to
  compromise a claim is not admissible to prove liability for or invalidity of the claim or its
  amount. Fed. R. Evid. 408 (includes evidence of conduct or statements made in
  compromise negotiations); Local Rule 9.07(b). All discussion, representations and
  statements made at the mediation conference are privileged settlement negotiations.
  Except in a supplemental proceeding to enforce a settlement agreement, nothing related
  to the mediation conference shall be admitted at trial or be subject to discovery. Fed. R.
  Evid. 408; Local Rule 9.07. A communication between a party and a mediator during a
  private caucus is also confidential, unless the party tells the mediator that it is not.

         F.    Compensation of Mediators – Absent agreement of the parties and the
  mediator, mediators shall be compensated at a reasonable hourly rate agreed to by the
  parties or provided by order of the Court, absent agreement of the parties, after
  consideration of the amount in controversy, the nature of the dispute, the resources of the
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  parties, the prevailing market rate for mediators in the applicable market, the skill and
  experience of the mediator, and other pertinent factors. Unless altered by order of the
  Court, the cost of the mediator's services shall be borne equally by the parties to the
  mediator conference.

         G.      Settlement and Report of Mediator – A settlement agreement reached
  between the parties shall be reduced to writing and signed by the parties and their
  attorneys in the presence of the mediator. See also Local Rule 9.06(b) and 3.08. Within
  seven days of the conclusion of the mediation conference, the mediator shall file and
  serve a written mediation report stating whether all required parties were present, whether
  the case settled, and whether the mediator was forced to declare an impasse. See Local
  Rule 9.06. The mediator may report any conduct of a party or counsel that falls short of a
  good faith effort to resolve the case by agreement or fails to comply with this Order. See
  Local Rule 9.05(e), 9.06(a).

  V. FINAL PRETRIAL CONFERENCE

        A.    Lead Trial Counsel and Parties – If this order does not set a final pretrial
  conference date, the Court may later set a final pretrial conference on notice. Lead trial
  counsel for each party, local counsel for each party, and each individual party (in
  the case of a corporate party, a corporate representative together with any
  unrepresented party, must attend the final pretrial conference in person unless
  previously excused by the Court. See Local Rule 3.06(d); FED. R. CIV. P. 16(d).

         B.       Substance of Final Pretrial Conference – Since this case must be fully
  ready for trial at the time that the Joint Final Pretrial Statement is due, at the final pretrial
  conference, all counsel and parties must be prepared and authorized to accomplish the
  purposes set forth in FED. R. CIV. P. 16 and Local Rule 3.06, including formulating and
  simplifying the issues; eliminating frivolous claims and defenses; admitting facts and
  documents to avoid unnecessary proof; stipulating to the authenticity of documents;
  obtaining advance rulings from the Court on the admissibility of evidence; settling the
  dispute; disposing of pending motions; establishing a reasonable limit on the time allowed
  for presenting evidence; and such other matters as may facilitate the just, speedy, and
  inexpensive disposition of the action. See FED. R. CIV. P. 16(c)-(d).

  VI. SANCTIONS – The Court will impose sanctions on any party or attorney: 1) who fails
  to attend and to participate actively in the meeting to prepare the Joint Pretrial Statement,
  or who refuses to sign and file the agreed document; 2) who fails to attend the Final
  Pretrial Conference, or who is substantially unprepared to participate; 3) who fails to
  attend the mediation and actively participate in good faith, or who attends the mediation
  without full authority to negotiate a settlement, or who is substantially unprepared to
  participate in the mediation; or 4) who otherwise fails to comply with this order. Sanctions
  may include but are not limited to an award of reasonable attorneys fees and costs, the
  striking of pleadings, the entry of default, the dismissal of the case, and a finding of
  contempt of court. See FED. R. CIV. P. 16(f) and 37; Local Rules 9.05(c), (e); 28 U.S.C. §
  1927.

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  VII. TRIAL

          A.     Trial Before District Judge – A case scheduled for trial before a United
  States District Judge normally will be called for trial on the first day of the trial term
  indicated in the above table, or as soon after that date as is possible in light of the Court’s
  felony and civil trial calendar. 3 Cases not reached for trial in the month scheduled will be
  carried over to the following month on a trailing trial calendar, and issued subpoenas will
  continue in force. Counsel, parties, and witnesses shall be available on twenty-four
  hours notice for trial after the beginning of the trial term. A different District Judge or
  visiting judge may try the case. Local Rule 1.03(d). The case may be set for trial in the
  Orlando Division, Tampa Division, Fort Myers Division, Ocala Division, or Jacksonville
  Division of the Court. Local Rule 1.02(e). Absent a showing of good cause, any party
  whose turn it is to provide evidence will be deemed to have rested if, during the hours
  designated for trial, the party has no further evidence or witnesses available.

          B.     Trial Before Magistrate Judge – A case scheduled for trial before a United
  States Magistrate Judge will be called for trial on a date certain. With respect to a civil
  case that remains pending before a District Judge as of the date of this order, the United
  States District Judges of the Middle District of Florida wish to afford the parties the
  opportunity to consent to proceed before a Magistrate Judge. Consent must be
  unanimous. A United States Magistrate Judge is available pursuant to 28 U.S.C. § 636(c)
  and Federal Rule of Civil Procedure 73(a) to conduct all further proceedings in this case
  (or specified motions in this case), to conduct a jury or non-jury trial beginning on a date
  certain, and to enter final judgment. A party may appeal a final judgment of a Magistrate
  Judge to the United States Court of Appeals for the Eleventh Circuit in the same manner
  as an appeal from the district court. 28 U.S.C. § 636(c)(3); Fed.R.Civ.P. 73. A party is
  free to withhold consent without adverse substantive consequences. 28 U.S.C. § 636
  (c)(2); FED. R. CIV. P. 73(b). Consent forms are attached to this scheduling order. FED. R.
  CIV. P. 73(b); Local Rule 6.05.

         C.      Settlement – Counsel shall immediately notify the Court upon settlement
  of any case. Local Rule 3.08(a). The parties shall notify the Court of any settlement or
  other disposition of the case which will eliminate the need for a jury by 11:30 a.m. on the
  last business day before the date scheduled for jury selection. Failure to do so will subject
  each party to joint and several liability for jury costs. Regardless of the status of settlement
  negotiations, the parties shall appear for all scheduled hearings, including the Final
  Pretrial Conference and for trial absent the filing of a stipulation of dismissal signed by all
  parties who have appeared in the action (or notice of dismissal if prior to answer and
  motion for summary judgment). FED. R. CIV. P. 41(a).

          D.    Electronic Equipment – On September 26, 2013, Chief United States
  District Judge Anne C. Conway, entered a standing order allowing any attorney permitted
  to practice law in the Middle District of Florida, to be allowed to bring any personal

  3This case may be reassigned to a visiting District Judge at any time. In unusual and extraordinary circumstances, the
  Court may re-notice this case for trial shortly before the first day of the trial term if necessary to accommodate the trial
  schedule of the District Judge.
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  electronic device into the courthouse by presenting to courthouse security a valid Florida
  Bar identification or pro hac vice order. See standing Order 6:13-mc-94-ORL-22.

        DONE and ORDERED in Tampa, Florida, this 15th day of July, 2020.




  Attachments:               Exhibit List Form [mandatory form]
                             Magistrate Judge Consent / Entire Case
                             Magistrate Judge Consent / Specified Motions

  Copies furnished to:       United States Magistrate Judge
                             Counsel of Record
                             Any Pro Se parties




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                                           UNITED STATES DISTRICT COURT
                                            MIDDLE DISTRICT OF FLORIDA
                                                  TAMPA DIVISION

 UMG RECORDINGS, INC., et al.,

          Plaintiffs,

 v.                                                                                         Case No: 8:19-cv-710-T-35TGW

 BRIGHT HOUSE NETWORKS, LLC.,                                                _____              Evidentiary
          Defendant.                                                         _____              Trial
                                                       /                     _____              Other
                           EXHIBIT LIST

Exhibit    Date             Date              Witness                 Objections/Stipulated Description of Exhibit
No.        Identified       Admitted                                  Admissions 4




 4
  Type “A” in this column to identify exhibits to be received in evidence by agreement, otherwise, specifically state each objection to
 each opposed exhibit.
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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge

                                      UNITED STATES DISTRICT COURT
                                                 for the
                                         Middle District of Florida

      UMG RECORDINGS, INC., et al.                    )
               Plaintiffs                             )
                  v.                                  )     Civil Action No.   8:19-cv-710-T-35TGW
     BRIGHT HOUSE NETWORKS, LLC.                      )
              Defendant                               )


    NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is
available to conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the
entry of a final judgment. The judgment may then be appealed directly to the United States court of
appeals like any other judgment of this court. A magistrate judge may exercise this authority only if all
parties voluntarily consent.

       You may consent to have your case referred to a magistrate judge, or you may withhold your
consent without adverse substantive consequences. The name of any party withholding consent will
not be revealed to any judge who may otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and
all post-trial proceedings.

        Parties’ printed names                Signatures of parties or attorneys                Dates




                                             Reference Order
       IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all
proceedings and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed.
R. Civ. P. 73.

Date:
                                                                   District Judge’s signature




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                                                                  Printed name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction
by a United States magistrate judge. Do not return this form to a judge.




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AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge
                                   UNITED STATES DISTRICT COURT
                                              for the
                                      Middle District of Florida

        UMG RECORDINGS, INC., et al.
                Plaintiff                          )
                   s                               )
                                                   )     Civil Action
                       v.                                                8:19-cv-710-T-35TGW
                                                   )     No.
    BRIGHT HOUSE NETWORKS, LLC.                    )
             Defendant

   NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE
                                  JUDGE

       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is
available to conduct all proceedings and enter a final order dispositive of each motion. A magistrate
judge may exercise this authority only if all parties voluntarily consent.

       You may consent to have motions referred to a magistrate judge, or you may withhold your
consent without adverse substantive consequences. The name of any party withholding consent will
not be revealed to any judge who may otherwise be involved with your case.

       Consent to a magistrate judge’s consideration of a dispositive motion. The following parties
consent to have a United States magistrate judge conduct any and all proceedings and enter a final
order as to each motion identified below (identify each motion by document number and title).

            Motions:




        Parties’ printed names           Signatures of parties or attorneys             Dates




                                          Reference Order

       IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S.C. §
636(c).

Date:
                                                                   District Judge’s signature
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                                                                      Printed name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction
by a United States magistrate judge. Do not return this form to a judge.




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